Case 3:07-cV-OO708-RET-SCR Document 20 06/24/08 Pagelofl

UNlTED STATES D|STR|CT COURT

 

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;. V'U ~., ||‘? § ~¢ 25 v
KE\TH PALMER (#295368) 51 M..~__
civiL AcTioN
vERsus
No. 07-708-0
BURL cAiN, ET AL
JuDGMENT

For the written reasons assigned and filed herein:
lT lS ORDERED ADJUDGED AND DECREED that the petitioner’s application
for habeas corpus relief is denied and this matter is dismissed

A|| other pending motions in this action are hereby dismissed, as moot.

Baton Rouge, Louisiana, June '>§cié , 2008.

    

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